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                                                             USDC SDNY
UNITED STATES DISTRICT COURT                                 DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                ELECTRONICALLY FILED
UNITED STATES OF AMERICA,                                    DOC #: ____________________
                                                             DATE FILED: __11/16/2021

             -against-
                                                                       20 Cr. 78-7 (AT)
NASIR VINCENT,
                                                                           ORDER
                            Defendant.
ANALISA TORRES, District Judge:

        The sentencing scheduled in this matter for November 18, 2021, is RESCHEDULED to
November 17, 2021, at 3:30 p.m. The hearing shall proceed in Courtroom 15D of the United
States Courthouse, 500 Pearl Street, New York, New York 10007.


                  SO ORDERED.

       Dated: November 16, 2021
              New York, New York
